                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS


SECURITIES AND EXCHANGE           )
COMMISSION,                       )
                                  )
     Plaintiff,                   )
                                  )
     v.                           ) Case No. 22-cv-10651-NMG
                                  )
AMERICAN RENAL ASSOCIATES         )
HOLDINGS, INC. et al.,            )
                                  )
     Defendants.
                                  )




     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT KAREN
          SMITH’S MOTION FOR SUMMARY JUDGMENT




                                         Jonathan L. Kotlier (BBO# 545491)
                                         jkotlier@nutter.com
                                         Ian D. Roffman (BBO# 637564)
                                         iroffman@nutter.com
                                         Alex Rothschild (BBO# 704521)
                                         arothschild@nutter.com
                                         Nutter, McClennen & Fish, LLP
                                         Seaport West, 155 Seaport Blvd.
                                         Boston, Massachusetts 02210
                                          (617) 439-2000

                                         Counsel for Defendant Karen Smith
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                                PRELIMINARY STATEMENT

       Discovery has shown that this case should never have been brought against Karen Smith.

The SEC lacks basic evidence that a fraudulent scheme to overstate revenue ever existed at

American Renal Associates Holdings, Inc. (“ARA”) or that Karen Smith, a controller who never

was responsible for revenue, should be held personally liable for ARA’s alleged revenue

overstatements. Under the SEC’s theory of the case, a corporate employee is responsible not only

for doing her own job, but also for everyone else’s as well. This theory is legally untenable,

factually flawed, and should end here.

       In September 2019, ARA, one of the nation’s largest dialysis providers, restated its

financial results for all periods from “2013 and prior” through the third quarter of 2018. ARA’s

total restated revenue during the restated periods was roughly the same as previously reported,

but the timing of when it was recorded changed. According to the restatement, ARA had

understated revenue in 2013, 2015, and 2016 and overstated revenue in 2014, 2017 and the first

three quarters of 2018. The SEC’s Amended Complaint followed, alleging that the revenue

overstatements in 2017 and 2018 resulted from fraudulent conduct by three individual

defendants, Jon Wilcox, ARA’s Chief Financial Officer, Jason Boucher, ARA’s Chief

Accounting Officer, and Karen Smith, ARA’s controller.

       Of the three individual defendants, Smith was the most junior. She was not a member of

ARA’s executive management team. She never set ARA’s policies or procedures for recognizing

revenue. And she never had any responsibility for determining the amount of revenue ARA

would recognize. Now, more than five years later and after extensive discovery, including nearly

30 fact and expert depositions, the record establishes that judgment should be entered for Smith

because no reasonable jury could find that she violated the federal securities laws.
       In summary, the SEC lacks evidence that ARA’s revenue restatement resulted from

fraud. The restatement does not state that revenue was misstated because of any intentional or

negligent misconduct. ARA’s Audit Committee investigation that led to the restatement

concluded “there was no intentional wrong-doing” and that the misstatement “was the result of

inadequate processes and controls.” There is no evidence of any fictitious revenue at ARA. And

the SEC’s whistleblower – its star witness – claims that ARA maintained a “cookie jar” of

revenue, which, if true, would have caused ARA to understate its revenue – a claim that directly

contradicts the SEC’s allegation that the company intentionally overstated its revenue.

       As to Smith in particular, no reasonable jury could find that she recklessly or negligently

participated in, or aided and abetted, a supposedly fraudulent scheme based on the isolated email

chains cited by the SEC. Smith was never the decisionmaker on what revenue ARA recorded.

She had no role in revenue recognition in 2017 whatsoever and only a limited role in 2018 to

supervise more junior employees, whose substantive work was reviewed by executives above her

in rank and experience. And all relevant revenue reported by ARA in 2018 was supported by

patient-level detail of actual cash collections.

       The undisputed evidence developed in discovery also proves that all data and information

provided to ARA’s auditors was truthful and accurate patient data that existed in ARA’s books

and records. The SEC’s allegation that Smith improperly withheld a single piece of paper from

the auditors – “McDonough’s handwritten notes” – is directly contradicted by the testimony of

every witness who testified about it, including the auditors and the purported whistleblower.

       Additionally, judgment should be entered for Smith for the independent reason that there

can be no “scheme” liability here. The SEC alleges that ARA overstated its revenue, but Smith

did not make the alleged misstatement and thus under black-letter Supreme Court precedent from




                                                   2
Janus Capital Group, she cannot be liable for it. When pleading this case, the SEC sought to

avoid the preclusive effect of Janus Capital Group by alleging that she engaged in a fraudulent

scheme that was distinct from the misstatement. But the undisputed facts prove that Smith’s

conduct was part of ARA’s alleged effort to misstatement revenue and thus, cannot form the

basis for a separate scheme.

        For these and other reasons, as detailed below, the Court should enter judgment for Karen

Smith on all claims asserted against her.

                                                  FACTS

I.      REVENUE RECOGNITION AT ARA REQUIRED THE COMPANY
        TO ESTIMATE ITS REVENUE AND THIS CASE IS ONLY ABOUT
        ONE STEP IN THE ESTIMATION PROCESS: TOPSIDE ADJUSTMENTS
                                                                             1
        ARA is a nationwide dialysis service provider. (SOF ¶¶ 1-2.) Accounting for revenue in

healthcare entities like ARA is unique and complex. (SOF ¶¶ 35-46.) Although ARA billed for

services at a usual and customary rate (“UCR”), few (if any) payors actually pay the UCR. (SOF

¶¶ 36,42.) ARA was required to record revenue (and related accounts receivable) at the amount it

estimated it would collect. (SOF ¶¶ 37,43-46.) ARA’s estimation process was especially

complex because of the large number of treatments it provided and because some patients had no

insurance, changed insurance providers, or had insurance from companies with no standard

contract with ARA. (SOF ¶¶ 35, 38, 39.)

        Generally, ARA’s revenue process involved three steps: first, recording the UCR for

services; second, taking a “contractual allowance” to estimate of how much less ARA expected

to collect on services; and third, recording a “topside adjustment” (“TSA”) to hone its estimate



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 Citations to Defendant Smith’s Statement of Undisputed Facts in Support of her Motion for Summary Judgment
are noted as “SOF ¶ __.”



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based on additional information obtained. (SOF ¶ 42.) TSAs could be positive or negative, and

they were determined based on various factors, including collection history, changes in insurance

rates, changes in patient carriers, overpayments, and others. (SOF ¶¶ 73-78, 80, 91, 159.)

       This lawsuit involves only the third step: recording TSAs.

II.    BEFORE 2017, ARA’S REVENUE RECOGNITION WAS THE
       SOLE RESPONSIBILITY OF A NON-PARTY, JOHN MCDONOUGH

       For most of her career at ARA, Smith was not involved with the TSA process and had no

need to learn or understand it. During her first eight years at ARA, she had the title “Controller,”

but that title did not mean she was involved with TSAs, and it is undisputed that she did not.

(SOF ¶¶ 10-11.)

       Before 2017, determining TSAs was the sole province of John McDonough, ARA’s then-

Chief Operating Officer. (SOF ¶¶ 5,-73-78.) McDonough resigned from ARA at the end of 2016,

but he remained a consultant through February 2017 to train Wilcox and Boucher on his process

for determining TSAs. (SOF ¶¶ 4, 86.) McDonough never trained Smith on TSAs because it was

not contemplated that she would have any role in determining them. (SOF ¶¶ 85, 89.)

       When McDonough determined the amount of TSAs, he used an analytic methodology in

which he reviewed patient-level collection data as well as overall trends. (SOF ¶¶ 73-78.) He

recorded his determinations by handwriting the amount of the TSA on a printout of ARA’s

profit-and-loss statement, which he handed to a company accountant to enter into ARA’s general

ledger. (SOF ¶ 77.) McDonough’s handwritten notes were generally retained by ARA. (SOF

¶ 84.) Grant Thornton, ARA’s outside auditor, was aware of McDonough’s process and had seen

his handwritten notes over the years. (SOF ¶¶ 80-84, 181.)

       The SEC has not accused McDonough of any wrongdoing and has not alleged that the

revenue misstatements during the years he was in charge resulted from misconduct.



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III.    DURING THE RELEVANT PERIOD, SMITH WAS NEVER
        RESPONSIBLE FOR MAKING ARA’S TSA DECISIONS

        During all relevant periods, Smith was never responsible for determining TSAs.

Documents produced by ARA revealed several drafts of an internal “process narrative” for

recognizing revenue that describe ARA’s processes for aspects of revenue recognition including
                                                                                                    2
TSAs. (SOF ¶¶ 62-72.) None identifies Smith as a “process owner” for revenue. (Id.) Smith also

did not sign ARA’s financial statements for any period in 2017 or 2018, was not responsible for

implementing internal controls for TSAs, and made no representations to ARA’s external

auditors in 2017 or most of 2018. (SOF ¶¶ 61, 206, 207.)

        After McDonough left ARA, revenue recognition became the responsibility of Boucher

and Wilcox. (SOF ¶ 89.) In March 2017, ARA hired a revenue manager, Michael Dineen, to help

Wilcox and Boucher with determining what revenue to recognize by analyzing potential TSAs

using patient-level detail. (SOF ¶¶ 14, 93.) When Dineen became revenue manager, he reported

to Smith on paper, but Dineen and his revenue accounting group worked directly with Boucher,

supporting the revenue recognition function that Boucher ran. (SOF ¶¶ 97-99.) After Dineen left,

ARA appointed a new revenue manager, who similarly analyzed potential TSAs at Boucher’s

direction. (SOF ¶¶ 145.)




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  A July 2016 revenue process narrative, still circulated as of March 2017, identifies three process owners
responsible for revenue, and none was Smith. (SOF ¶¶ 62-72.) A draft dated May 2017, circulated internally in
March 2018, identifies six revenue process owners, and none was Smith. (Id.) Another draft dated April 2018,
circulated internally in June 2018, identifies nine revenue process owners, and still, none was Smith. (Id.)



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IV.    DURING THE RELEVANT PERIOD, SMITH’S
       INVOLVEMENT WITH TSAs WAS MINIMAL

       A.      In 2017, Smith Sometimes Ran Reports from ARA’s
               Systems, But Did Not Analyze or Determine ARA’s TSAs

       Throughout 2017, Smith had no substantive role in revenue recognition. This fact has

been confirmed by many witnesses, including the SEC’s purported whistleblower Dineen, and its

outside auditors at Grant Thornton. (SOF ¶¶ 23, 27-28, 34, 61, 62-72, 85, 119, 147.)

       During discovery, the SEC has referenced Smith in connection with only two isolated

events during 2017, but neither involved substantive work by Smith. First, the SEC has cited to a

June 2017 email. (SOF ¶ 100.) In that email, Wilcox asks Dineen to let him “know when the

revenue adjustments are done[.]” (Id.) His only request to Smith is to “please rerun tracker, etc.,”

a system report, when the adjustments were done. (Id.) Later in the email chain, Wilcox, not

Smith, instructs Dineen to book TSAs for two specified clinics. (Id.) Smith’s role is ministerial:

to “rerun” a report from ARA’s accounting system.

       Second, the SEC’s expert witness referred to a September 2017 email chain, which Smith

did not send or receive, in which Dineen writes to other ARA employees: “I actually talked to

Karen about this,” and then clarifies whether an adjustment would be booked as a TSA or a

contractual allowance. (SOF ¶¶ 101.) On its face, this email addresses which general ledger

account a revenue estimate adjustment should be booked to, a topic that is not an issue in this

case because it is unrelated to the amount of revenue recorded by ARA. (Id.)

       B.      In 2018, Wilcox or Boucher Determined TSAs
               And All TSAs Were Based on Patient-Level Data

       During the relevant period of 2018, Wilcox or Boucher determined the amount of TSAs,

and Smith was never privy to the details of their final analysis or decision-making. (SOF ¶¶ 89,

119.) Additionally, all TSAs recorded by ARA during the relevant period 2018 were supported



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by patient-level data of dialysis services and payments in ARA’s books and records. (SOF ¶¶

112.) The patient-level data was analyzed in spreadsheets called “waterfalls.” (SOF ¶¶ 47-49.)

Dineen and his successor, Angela Keithahn, supervised the revenue accountants who prepared

the waterfalls. (SOF ¶¶ 92, 93, 95, 148.) No witness, including the purported whistleblower,

disputes that patient-level analyses were performed for all TSAs in 2018.

       C.      Between January and May 2018, Smith Became a
               Messenger Between Boucher and Dineen Because They
               Didn’t Get Along, But She Still Did Not Determine ARA’s TSAs

       In early 2018, the relationship between Boucher and Dineen began to deteriorate, and

Boucher asked Smith to become more involved in interacting with Dineen. (SOF ¶¶ 116-117.)

As a result, she was copied on a larger number of emails in 2018 than in 2017, but she was never

asked to determine the amount of TSAs.

       The SEC has identified two isolated events during this period on which it bases its claims

against Smith. The first is an April 11, 2018 email sent from Smith’s email account to Dineen,

with an attached Excel spreadsheet, entitled “Direct MTD 03’18 4.11.18.” (SOF ¶¶ 120-124.)

The SEC has taken the position that Smith was instructing Dineen to book TSAs to meet a

predetermined metric, “days sales outstanding,” or DSO. But the metadata for the spreadsheet

shows that it was created and modified by Boucher, not Smith. (Id.) After creating the

spreadsheet, Boucher emailed it to Smith with a subject line, “my topside entries were not

addressed,” stating only, “stopping by.” (Id.) Without editing it, Smith forwarded Boucher’s

spreadsheet to Dineen. (Id.)

       Second, in May 2018, Boucher was determining TSAs to close the books for April 2018.

(SOF ¶¶ 125-142.) Being the first month of the quarter, April financial results are not disclosed

to investors. (SOF ¶ 142.) On May 10, Smith emailed Dineen asking, “Can you please find

another $1 – 1.2m in topside?” (SOF ¶ 134.) In response to this email, Dineen reviewed a


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document known as the contractual adjustments spreadsheet, or CAS, and other patient level data

from several clinics, and based on his review, Dineen proposed TSAs for several clinics. (SOF

¶¶ 104-105, 134-142.) After some back-and-forth, Smith forwarded Dineen’s analysis to

Boucher. (SOF ¶¶ 134-142.) Boucher asked questions of Dineen, performed additional analysis,

and ultimately determined which TSAs to book. (Id.)

       D.      After Dineen Left ARA, Smith Still Did Not Determine ARA’s TSAs

       In mid-May 2018, Dineen was fired from ARA. (SOF ¶ 143.) ARA’s reason for his

termination was lack of competence. (Id.) As of his termination, Dineen had not complained to

Smith or any executive at ARA about any supposedly improper conduct. After Dineen left ARA,

Keithahn became ARA’s revenue manager, and eventually, she reported to Jillian Bernard, a

CPA who became ARA’s controller in September 2018. (SOF ¶ 145.)

       The SEC claims that in October 2018, Smith participated in an effort to improperly

determine TSAs. Over a several-day period in October 2018, many ARA employees analyzed

patient-level data in waterfalls to determine appropriate TSAs. (SOF ¶¶ 160-163.) The waterfalls

resulted in TSAs that increased recorded revenue in some cases and decreased it in others. (Id.)

This work culminated in an October 16 email from Bernard to Boucher (copying Smith).

Bernard wrote that she “agree[s] that the topsides recorded were appropriate.” (Id.)

V.     SMITH PROVIDED TRUTHFUL AND ACCURATE
       INFORMATION ABOUT TSAs TO ARA’S OUTSIDE AUDITORS

       During Grant Thornton’s audit of ARA’s 2017 financial statements, Grant Thornton

conducted audit procedures on ARA’s TSAs. (SOF ¶¶ 172-173.) Grant Thornton conducted a

“substantive test” of the TSA entries, not a controls test. (SOF ¶¶ 168, 169.) This means that the

auditors tested the reasonableness of the TSA amount, not the process that resulted in them. (Id.)

The procedures began in September 2017 with a “walkthrough” in which the auditors



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interviewed Dineen – not Smith – about ARA’s TSA process. (SOF ¶¶ 170-171.) On January 30,

2018, a Grant Thornton auditor informed ARA that Grant Thornton would be testing TSAs and
                                                                                3
identified a sample of 54 specific TSAs (37 credits and 17 debits) for review. (SOF ¶¶ 173.)

           ARA personnel other than Smith compiled the data relating to the TSAs Grant Thornton

initially selected for testing and put them into two spreadsheets, one each for credits and debits.

(SOF ¶¶ 187, 191) Smith forwarded the spreadsheets to Grant Thornton. (SOF ¶¶ 184, 188.)

Because several of the TSAs were originally recorded based on McDonough’s analytic

methodology described above, ARA personnel reviewed patient data that existed at the time of

the journal entries to establish the reasonableness of those entries. (SOF ¶¶ 200-203.) In these

instances, ARA expressly disclosed to Grant Thornton that the original entry was based on

analytics: they included a “banner” on the detail for 13 entries, stating “Originally based on

analytics – built better processes through out the year and add patient details.” (SOF ¶¶ 186-190.)

The banner was highlighted in yellow and written in red. (Id.) Grant Thornton’s internal audit

workpapers reveal that the data that the auditors ultimately used to test the reasonableness of

TSAs was different from what Smith transmitted to them in 25 instances. (SOF ¶¶ 195-197.)

           The SEC relies on a January 30, 2018 email from Smith to Dineen, in which she wrote,

“Please do not provide McDonough’s printed piece of paper to the auditors for support. We will

have to provide an analysis of patient level support.” (SOF ¶ 176.) “McDonough’s printed piece

of paper” refers to a printout of ARA’s profit-and-loss statement by clinic on which McDonough

handwrote the dollar amount of his TSA determination. (SOF ¶ 77.) Grant Thornton witnesses

have testified that they were aware of and had seen McDonough’s printed piece of paper. (SOF

¶¶ 80-84.) Grant Thornton’s lead auditor acknowledged that if Smith had provided


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    Grant Thornton later added 7 more TSAs to the review set. (SOF ¶ 197.)



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McDonough’s piece of paper to the auditors, they would have asked for patient level support.

(SOF ¶¶ 180-182.) He stated that it was “reasonable for [Smith] to have anticipated that if she

had handed the auditors McDonough’s printed pieces of paper, they would just simply ask for

the patient level support.” (SOF ¶ 183.)
                                                                    4
                                                  ARGUMENT

         Summary judgment should be entered for Smith on all claims against her, including the

First, Third, Tenth, Thirteenth, and Fourteenth Claims, which assert primary liability, and the

Second, Fifth, Seventh, Ninth, and Twelfth Claims, which assert aiding and abetting claims. As

to the First and Third Claims, no reasonably jury could find that Smith acted with scienter or

negligence in connection with ARA’s TSAs (Section I below) and the SEC’s claims against

Smith are barred because did not make or disseminate any false or misleading statements and

there is no alleged scheme here that was distinct from the alleged misstatements (Section II).

Judgment should be entered for Smith on the Thirteenth Claim because she was not responsible

for ARA’s internal controls nor did she enter any TSAs in circumvention of them (Section III.A).

Judgment should be entered for Smith on the remaining primarily liability claims because no

reasonably jury could find that Smith falsified any accounting records or made any false

statements to auditors (Sections III.B and C). Finally, Judgment should be entered on all aiding




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  Summary judgment is appropriate when “the movant shows that there is no genuine dispute as to any material fact
and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The non-moving party cannot
oppose a properly supported summary judgment motion by “rest[ing] on mere allegations or denials of [the]
pleadings.” Id. at 248. The First Circuit requires that for factual inferences to “qualify” to be drawn in favor of the
nonmoving party, they “must flow rationally from the underlying facts, [that is,] a suggested inference must ascend
to what common sense and human experience indicates is an acceptable level of probability.” Medina-Rivera v.
MVM, Inc., 713 F.3d 132, 137 (1st Cir. 2013); Iverson v. City of Boston, 452 F.3d 94, 98 (1st Cir. 2006) (non-
moving party must establish “a trial worthy issue” through “submissions of evidentiary quality”).




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and abetting claims because the SEC lacks evidence that Smith had knowledge of and

substantially participated in anyone else’s violations (Section IV).

I.       NO REASONABLE JURY COULD FIND THAT SMITH PARTICIPATED
         IN A FRAUDULENT SCHEME TO MISSTATE ARA’S REVENUE

         No reasonable jury could find that Smith, acting with scienter or negligence, participated

in a scheme to overstate ARA’s revenue through fraudulent TSAs. The SEC’s First and Third

Claims against Smith require proof of scienter, which this Circuit defines as either “conscious

intent to defraud” or “a high degree of recklessness.” SEC v. Ficken, 546 F.3d 45, 47 (1st Cir.

2008). If there is no genuine issue of disputed fact about scienter, summary judgment is
                                          5
appropriate. Ficken, 546 F.3d at 51. The SEC’s First Claim also encompasses Securities Act

Sections 17(a)(2) and (3), which require a showing of negligence, not scienter. Id., at 47.

         A.       The SEC Cannot Show that Anyone Intentionally Misstated Revenue at ARA

         The SEC faces an existential lack of proof on its fundamental theory: that anyone at ARA

fraudulently overstated its revenue in 2017 or 2018. The Restatement, itself, concludes only that

ARA’s “methodology for reserving for contractual allowances did not reconcile revenue and

accounts receivable to [its] collection experience and actual cash collections.” (SOF ¶¶ 204,

212.) It does not state that ARA’s prior revenue statements were fraudulent or that any
                                                   6
previously reported revenue was fictitious. (Id.) The Audit Committee of ARA’s Board of

Directors conducted a thorough investigation, assisted by a leading national law firm, Milbank


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  The SEC may not rely on the mere existence of a material misstatement or omission to establish scienter. Aldridge
v. A.T. Cross Corp., 284 F.3d 72, 83 (1st Cir. 2002) (“Of course, more than mere proof that the defendants made a
particular false or misleading statement is required to show scienter.”). A violation of GAAP standards, alone, will
not support an inference of scienter. Greebel v. FTP Software, Inc., 194 F.3d 185, 203-204 (1st Cir. 1999); see
DiLeo v. Ernst & Young, 901 F.2d 624, 628 (7th Cir. 1990) (admonishing courts to “separate fraud from the benefit
of hindsight” because “[t]here is no ‘fraud by hindsight’” under U.S. securities law).
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 To the contrary, ARA’s total revenue for the restated periods was about the same as in the original statements, and
all cash flows remained the same.



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LLP, working with a leading national forensic accounting firm, Ankura Consulting Group LLC,

and concluded that “there was no intentional wrong-doing on the part of management, and that

the misstatement was the result of inadequate processes and controls.” (SOF ¶ 209.)

       The SEC’s star witness, a purported whistleblower who was fired from ARA for

incompetence, claims that ARA operated a “cookie jar” – that it held back revenue from being

recognized. (SOF ¶ 211.) But this allegation cannot sustain a reasonable jury verdict for three

reasons. First, a “cookie jar” would cause an understatement of revenue and that is directly

contradicted by the restatement, which states that ARA overstated revenue. (SOF ¶ 222.)

Second, neither the restatement nor the Audit Committee’s investigation files mention the

discovery of any purported “cookie jar.” (SOF ¶ 215.) And third, the purpose of a “cookie jar”

would be to smooth out ARA’s earnings to meet analyst expectations, but the objective evidence

shows ARA did not have smooth earnings or meet analyst expectations in any of the seven

relevant quarters. (SOF ¶¶ 221-226.)

       In short, the SEC’s theory that anyone at ARA intentionally overstated revenue is

overwhelmingly contradicted by the evidence.

       B.      The Isolated Events Involving Smith Do Not
               Support a Securities Fraud Claim Against Her

       Lacking evidence of an overarching scheme to defraud, the SEC seeks to place blame on

Smith based on a handful of isolated events. But none is sufficient to support a securities fraud

verdict against her from any reasonable jury. See SEC v. Durgarian, 477 F. Supp. 2d 342, 348,

353 (D. Mass. 2007) (court must “disentangle the allegations” to examine claims against each

defendant individually).




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               1.     Smith Was Not Responsible for Determining TSAs

       Smith was not the decision-maker for TSAs during any period. She was also not

identified as a “process owner” for TSAs for any part of the relevant period.

               2.     The Evidence Cannot Support a Fraud Verdict for 2017 TSAs

       All witnesses acknowledge that Smith had no role in the process for determining TSAs

during 2017. The June and September 2017 emails do not alter this conclusion. The plain

language of the June email shows that Dineen, not Smith, analyzed the potential TSAs, and

Smith’s only role was to run a report from ARA’s systems to provide to Wilcox. The September

email does not involve the amount of an adjustment, only how to account for it. This

determination did not affect the amount of revenue reported by ARA and thus is irrelevant to the

SEC’s claim that ARA overstated revenue.

               3.     The Evidence Cannot Support a Fraud Verdict for 2018 TSAs

       In 2018, Smith still was not responsible for determining TSAs, and she played only a

minimal role in the process. Importantly, the SEC alleges that Wilcox and Boucher implemented

a “top-down” system for making TSA that was “not based on patient-level detail,” (e.g., AC ¶¶

79, 83, 84), but as discovery has revealed, it is undisputed, even by the SEC’s whistleblower, that

ARA had patient-level waterfalls for each TSA in 2018.

       The three isolated events in 2018 cannot be the basis for any reasonable verdict against

Smith. Although the April 2018 spreadsheet on which the SEC bases its arguments appears to be

from Smith, it was not. Metadata shows that the spreadsheet was not written by Smith. This is

corroborated by the fact that the spreadsheet was emailed to Smith shortly before she forwarded

it, unchanged, to Dineen.

       As for the May 2018 email, it is undisputed that the TSAs booked after Smith asked

Dineen to “find” revenue were appropriate. Dineen admits that they reflected “real revenue that


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should be recognized” and fit Dineen’s own criteria for proposing TSAs. Moreover, Smith was

acting at Boucher’s direction and was ultimately uninvolved in the conclusion of this process: on

May 11, the day after her request to Dineen to “find” revenue, Boucher emailed Dineen (copying

Smith) attaching his comments and changes to Dineen’s proposed TSAs. Smith was not

involved in making the final decision.

       The October events are no different. The emails reveal that the TSA analysis was driven

not driven by Smith. TSAs were booked in both directions; some increasing and some

decreasing prior revenue estimates. Bernard, a CPA who was not alleged to have engaged in any

misconduct, performed the TSA analysis and does not believe there was anything wrong with the

process. These undisputed facts directly contradict the SEC’s theory that Smith intentionally or

negligently overstated ARA’s revenue.

               4.      Smith Did Not Mislead Grant Thornton
                       During its Audit Testing of ARA’s 2017 TSAs

       Finally, the SEC has proffered two theories to support its claim that Smith misled ARA’s

auditors, but neither holds up to the undisputed evidence.

       First, the SEC contends that Smith deliberately misled ARA’s auditors when during

Grant Thornton’s testing of 2017 TSA entries, she emailed to Dineen, “Please do not provide

McDonough’s printed piece of paper to the auditors for support. We will have to provide an

analysis of patient-level support.” Four of the 54 TSA entries initially selected for testing were

based on McDonough’s analysis, for which the only documentation was McDonough’s

handwritten notes on the profit-and-loss statements. Every Grant Thornton witness testified that

they were aware of McDonough’s handwritten notes. All witnesses also agreed that the auditors

were looking for patient-level support to test the reasonableness of TSA amounts. Even Dineen,

the SEC’s whistleblower, told Smith not to provide McDonough notes to the auditors because



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they were not “the type of support that the auditors would want to see as support,” and Grant

Thornton’s lead auditor said the content of Smith’s email was “reasonable.” In short, SEC’s

claim that Smith improperly concealed “McDonough’s printed piece of paper” from the auditors

is contradicted by the undisputed facts that it was known to them, not useful to them, and

reasonable for Smith to say so to Dineen.

        Second, the SEC contends that Smith improperly forwarded spreadsheets to Grant

Thornton that were not created when the TSAs were originally booked. But this claim is also

unsupported. There is no dispute that the data in the spreadsheets provided to Grant Thornton

reflected actual patient services and payments as of the time of the original TSA entries –

nothing was fictious about it. Grant Thornton already knew that 2017 TSA entries were initially

booked based on analytic procedures, not patient-level waterfalls. And the spreadsheets disclosed

this fact visibly – with yellow highlighting and in red print. In other words, the very fact that the

SEC alleges was concealed from the auditors was both known to them and disclosed in writing
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and highlighted.

        Under these facts, no reasonable jury could find that Smith intentionally or negligently

deceived Grant Thornton during its testing of 2017 TSAs.

II.     SCHEME LIABILITY AGAINST SMITH IS PRECLUDED
        AS A MATTER OF LAW BECAUSE THE LAW DOES NOT
        RECOGNIZE A SCHEME TO MISSTATE REVENUE

        Judgment must be entered for Smith on the First and Third Claims for the additional and

independent reason that she cannot be held primarily liable for an alleged misstatement that she


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  What’s more, the data that Grant Thornton ultimately used to test the TSA entries was different from the data that
Smith provided. There is no record of why or how Grant Thornton changed the data that they were looking at. But it
is undisputed that the auditors worked onsite at ARA and could ask ARA personnel to pull patient-level data in
ARA’s accounting systems to test the reasonable of the TSA amounts.




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did not make. In Janus Capital Group, the Supreme Court held that only the “maker” of a

misstatement can be liable for securities fraud under Exchange Act Rule 10b-5(b), and that

individuals who merely participate in “creating” or “preparing” the statement cannot. Janus

Capital Group, Inc. v. First Deriv. Traders, 564 U.S. 135, 142, 144 (2010). It is undisputed that

Smith did not “make” any misstatements, and the SEC, appropriately, did not charge her in the

Fourth Claim under Rule 10b-5(b). See Am. Compl ¶¶ 236-38.

       But under Janus Capital Group, the SEC cannot do what it is attempting to do here:

recharacterize a “misstatement” case as a “scheme” case to assert a claim under Securities Act

Sections 17(a)(1) and (3) (First Claim) and Exchange Act Rule 10b-5(a) and (c) (Third Claim).

In Lorenzo, the Court held that a person who did not “make” a misstatement could be liable for a

“scheme” if they disseminated misstatements in a separate effort to defraud investors. Lorenzo v.

SEC, 139 S. Ct. 1094, 1100-01 (2019). The Court stated that Janus Capital Group “would

remain relevant (and preclude liability) where an individual neither makes nor disseminates false

information — provided . . . that the individual is not involved in some other form of fraud.” Id.

at 1103 (emphasis in original).

       That “some other form of fraud” is exactly what is missing here. Since Lorenzo, courts

routinely hold that “[w]here the primary purpose and effect of a purported scheme is to make a

public misrepresentation or omission,” plaintiffs cannot circumvent Janus “by labeling the

alleged misconduct a ‘scheme’ rather than a ‘misstatement.’” In re Mindbody, Inc. Sec. Litig.,

489 F. Supp. 3d 188, 216 (S.D.N.Y. 2020). In SEC v. Kelly, for example, the defendants

allegedly schemed to inflate revenue and instructed employees to hide transactions from

accountants to avoid detection. SEC v. Kelly, 817 F. Supp. 2d 340, 343-344 (S.D.N.Y. 2011)

(“Kelly II”) (applying Janus to enter judgment for defendants); SEC v. Kelly, 765 F.Supp. 2d




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301, 322-323 (S.D.N.Y. 2011) (“Kelly I”) (describing factual allegations). Applying Janus, the

court entered judgment for defendants because the purpose of the alleged scheme was to misstate

revenue, and there was no “inherently deceptive act” that was “distinct from an alleged

misstatement.” Kelly II, 817 F. Supp. 2d at 343-344 (emphasis added); see also SEC v. Rio Tinto

plc, 41 F.4th 47, 49 (2d Cir. 2022) (no scheme liability where defendant “corrupt[ed] the

auditing process,” “fail[ed] to correct [mis]statements to the Audit Committee and auditors,” and

“concealed information from auditors” but did not “make” the misstatement); SEC v. SolarWinds

Corp., 23 Civ. 9518 (PAE), 2024 WL 3461952, *42 & n. 48 (S.D.N.Y., July 18, 2024) (no

scheme liability against defendant who was responsible for the “technical content and accuracy”

of misstatements because alleged deceptive acts were not “distinct from an alleged

misstatement”); SEC v. Hwang, 692 F. Supp. 3d 362, 379 (S.D.N.Y. 2023) (no scheme liability

when the defendant “participate[d] in the creation” company financials, but was not the

“maker”).

        Here, the alleged scheme and the misstatement are the same: to allegedly overstated

ARA’s revenue. Even if Grant Thornton were misled – and it was not – the “primary purpose

and effect” would have been to enable ARA to misstate its revenue. Thus, like in Rio Tinto,

SolarWinds, Mindbody, and Kelly, the SEC should not be permitted to recast misstatements as a
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scheme to avoid the plain application of Janus Capital Group.




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  Securities Act Section 17(a)(2) is equivalent to Exchange Act Rule 10b-5(b), except that Section 17(a)(2) also
requires the SEC to prove that the defendant “obtain[ed] money or property by means of” the alleged misstatement
or omission. 15 U.S.C. § 77q(a)(2). Some courts apply the “maker” requirement of Janus Capital Group to Section
17(a)(2). See, e.g., SEC v Kelly, 817 F. Supp. 2d at 345 (the two provisions “have the same functional meaning” in
creating primary liability).



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III.   JUDGMENT SHOULD BE ENTERED FOR SMITH
       ON THE SEC’S OTHER PRIMARY LIABILITY CLAIMS

       The SEC’s proof on the other primarily liability claims against Smith fares no better. The

SEC asserts three miscellaneous claims against Smith: that she knowingly circumvented internal

controls, falsified books and records, and misled auditors. The SEC commonly pleads these

claims in all accounting fraud cases, but as to Smith, they suffer from a fundamental lack of

evidence to sustain any reasonable jury verdict.

       A.      No Reasonable Jury Could Find That Smith
               Knowingly Circumvented ARA’s Internal Controls

       The SEC’s Thirteenth Claim requires it to prove that Smith “knowingly” circumvented or

“knowingly” failed to implement a system of internal controls under Exchange Act Section

13(b)(5). 15 U.S.C. § 78m(b)(5); see SEC v. Goldsworthy, No. 06-10012-JGD, 2007 WL

4730345, at *15, 18-19 (D. Mass. Dec. 4, 2007) (granting summary judgment for CFO of public

company). Smith could not possibly have violated Section 13(b)(5). She was not responsible for

implementing internal controls on TSAs. She was not responsible for making TSA

determinations. She was not a “process owner” on revenue. There is no evidence that she

circumvented any internal control by, for example, keeping information from her supervisor,

Boucher, or that she knew or believed she was doing anything inappropriate. For these reasons,

judgment should be entered for Smith on the Thirteenth Claim.

       B.      No Reasonable Jury Could Find that Smith Falsified ARA’s Books

       The SEC’s Tenth Claim alleges that Smith falsified ARA’s books or records in violation

of Exchange Act Rule 13b2-1. Primary violations of Rule 13b2–1 do not require a finding of

scienter, but they are “predicated on standards of reasonableness.” SEC v. Espuelas, 905 F. Supp.

2d 507, 525-526 (S.D.N.Y. 2012). There is no evidence that Smith knew or believed that any of

the TSAs were improper. She was neither the decisionmaker nor the analyst on any TSA. There


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is also no evidence that any patient level data of services and payments were false. Under these

facts, there simply is no basis to assert that Smith falsified any books or records.

       C.      No Reasonable Jury Could Find that Smith Misled Auditors

       The SEC’s Fourteenth Claim alleges that Smith misled Grant Thornton in its testing of

TSAs during its audit of ARA’s 2017 financial statements in violation of Exchange Act Rule

13b2-2(a). The rule does not impose a duty on corporate officers to report all information to

auditors; it “merely requires them not to make false statements” or omissions to accountants.

SEC v. Patel, No. 07-39-SM, 2008 WL 781914, at *15 (D.N.H. Mar. 24, 2008). For the reasons

detailed above, Smith did not mislead Grant Thornton.

IV.    SMITH DID NOT AID AND ABET SECURITIES LAW VIOLATIONS

       Finally, the SEC’s Second, Fifth, Seventh, Ninth, and Twelfth Claims assert that Smith

aided and abetted ARA’s violations of various securities law provisions. To establish aiding and

abetting liability, the SEC must prove that Smith “knowingly and substantially assisted” the

primary violator. SEC v. Tambone, 417 F. Supp. 2d 127, 136 (D. Mass. 2006); see also S.E.C. v.

Lucent Techs., Inc., 610 F. Supp. 2d 342, 361, 367-68 (D.N.J. 2009) (granting summary

judgment for “middle finance manager” on aiding and abetting claims). The knowledge and

substantial assistance requirements exist for aiding and abetting claims even when the underlying

violation has no state of mind requirement. Lucent Techs., Inc., 610 F. Supp. 2d at 369.

       For the same reasons that the SEC cannot prove that Smith intentionally violated the

antifraud provisions, it cannot prove that she aided and abetting violations of those provisions or

of the books and records provisions. See Lucent Techs., Inc., 610 F. Supp. 2d at 369 (“The same

analysis for granting or denying defendants’ summary judgment motion as to aiding and abetting

liability under Section 10(b) are equally applicable to the SEC's claims of aiding and abetting

violations under Section 13.”).


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                                          CONCLUSION

       For these reasons, this Court should enter judgment for Smith on all claims.

                                                      Respectfully submitted,


                                                      /s/ Jonathan L. Kotlier
                                                      Jonathan L. Kotlier (BBO# 545491)
                                                      jkotlier@nutter.com
                                                      Ian D. Roffman (BBO# 637564)
                                                      iroffman@nutter.com
                                                      Alex Rothschild (BBO# 704521)
                                                      arothschild@nutter.com
                                                      Nutter, McClennen & Fish, LLP
                                                      Seaport West, 155 Seaport Blvd.
                                                      Boston, Massachusetts 02210
                                                      Telephone: (617) 439-2000
                                                      Facsimile: (617) 310-9000

  Dated: September 30, 2024                           Counsel for Defendant Karen Smith

                                 CERTIFICATE OF SERVICE

        I certify that, on September 30, 2024, this document (filed through the ECF system) will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
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                                                      /s/ Jonathan L. Kotlier




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